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                     UNITED STATES DISTRICT COURT

                            DISTRICT OF OREGON


  NICOLE MORETTI, and                       Case No.: 3:21-cv-01525-SI
  WENDY NOVIS, as
  Personal Representative of
  the Estate of SAYLOR                      UNITED STATES’ MOTION TO
  MORETTI, deceased                         DISMISS

                     Plaintiffs,            Rule 12(b)(1)
  v.

  LETTY OWINGS CENTER:
  CENTRAL CITY CONCERN, and/or
  the UNITED STATES
  acting through the DEPARTMENT
  OF HEALTH
  AND HUMAN SERVICES,

                     Defendants.




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        CERTIFICATION OF COMPLIANCE WITH LOCAL RULE 7-1

      Counsel for the United States of America certifies that it made good faith

effort to resolve the dispute with counsel of all other parties in this action. The

parties were unable to resolve the issues raised in this Motion.

                                       MOTION

      Plaintiffs bring a wrongful death claim against the United States under 28

U.S.C. § 1346 and 42 U.S.C. § 233(g)–(n). The United States hereby moves to

dismiss Plaintiffs’ claim for lack of subject matter jurisdiction under Rule 12(b)(1).

First, the United States is not the proper defendant because Plaintiffs’ claim does

not satisfy the statutory requirements of 42 U.S.C. § 233. Second, 28 U.S.C.

§ 2680(a) bars Plaintiffs’ claim. Third, Plaintiff Nicole Moretti did not exhaust her

administrative remedies, and her claim is forever barred under 28 U.S.C.

§§ 2401(b), 2675(a).

                              LEGAL MEMORANDUM

                                  INTRODUCTION

      The United States of America (“United States”), by Scott Erik Asphaug,

United States Attorney for the District of Oregon, and through Assistant United

States Attorney Michael J. Jeter, moves under Federal Rule of Civil Procedure

12(b)(1) to dismiss the Amended Complaint. See Am. Compl., ECF No. 19.

      The United States moves to dismiss all claims against it for lack of subject

matter jurisdiction. Plaintiffs are Wendy Novins, Personal Representative of the

Estate of the minor decedent Saylor Moretti, and Nicole Moretti on her own behalf.


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Plaintiffs brought a single wrongful death claim against Central City Concern

(“CCC”), the Letty Owings Center (“LOC”) (collectively “Clinic Defendants”), and

the United States. Plaintiffs allege that on October 4, 2019, while co-sleeping in

Nicole Moretti’s private room at the LOC, Nicole Moretti’s weight came to rest on

her infant son Saylor Moretti, causing him to die.

      Plaintiffs allege that Clinic Defendants were negligent in one or more ways

relating to Nicole Moretti co-sleeping with Saylor Moretti. Plaintiffs seek recovery

against the United States under the Federal Tort Claims Act (“FTCA”), a remedy

which is available (and exclusive) only if the conduct giving rise to suit is conduct

covered under the Federally Supported Health Centers Assistance Act (“FSHCAA”).

See 42 U.S.C. § 233(g)–(n). Because Plaintiff has sued the United States and Clinic

Defendants side-by-side, dismissal of one at this stage in the litigation is required.

The case may proceed against Clinic Defendants or the United States, but not both.

      As explained below, the United States is not a proper defendant because

Plaintiffs’ claim is not covered under FSHCAA. Upon the Secretary of Health

Human Services’ approval of an application “deeming” certain federal grant

recipients to be Public Health Service employees for purposes of 42 U.S.C. 233,

FSHCAA extends medical malpractice protections afforded to Public Health Service

officers and employees under 42 U.S.C. § 233(a) to the qualifying entity, its

employees, and certain qualified contractors. 42 U.S.C. § 233(g). In addition to

limiting the availability of the FTCA’s remedy against the United States to injuries

or death resulting from medical malpractice within the scope of official duties,


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FSHCAA further provides that an entity or individual deemed to be a Public Health

Service employee is “deemed” only for purposes of services provided to patients of

the entity. 42 U.S.C. § 233(g)(1)(B).

      Plaintiffs’ claim is not within the category of claims covered by the FSHCAA.

Saylor Moretti’s death did not result from medical malpractice; indeed, he was not

even a patient of LOC. The clinic provided in-residence substance abuse disorder

treatment to Nicole Moretti, does not provide medical services to children, and was

not providing Saylor Moretti medical services at the time of the incident. Because

Saylor Moretti was not a patient of LOC, he remained at all relevant times under

the direct care and supervision of his mother. Saylor Moretti’s death occurred when

they were sleeping alone in Nicole Moretti’s private room, and no professional

medical staff were involved in the overnight supervision of the Saylor Moretti.

Because Saylor Moretti was not a patient of LOC, “deemed” PHS employee status

did not extend to services provided to Saylor on premises. 42 U.S.C. 233(g)(1)(B).

      Plaintiffs’ complaint, moreover, is predicated upon an alleged breach of a

general duty imposed on premises owners to protect individuals, like Saylor

Moretti, who are placed in their charge, care, or custody. Because FSHCAA’s

protections do not extend to breaches of general duties imposed on premises owners,

the FTCA’s remedy against the United States is not available, and the United

States must be dismissed for lack of subject-matter jurisdiction.

      Alternatively, to the extent the Court finds that Clinic Defendants were

deemed to be Public Health Service employees for purposes of the conduct giving


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rise to this suit, and that the United States is a proper defendant, the United

States’ sovereign immunity has not been waived. For reasons explained below, if the

United States is a proper defendant, Plaintiffs’ claims are barred by the FTCA’s

discretionary function exception. 28 U.S.C. § 2680(a).

      Finally, if the United States is a proper defendant, the Court also lacks

subject matter jurisdiction over any claim Nicole Moretti might have. Under Oregon

law, only the estate’s personal representative has the right to bring a wrongful

death claim. The Amended Complaint added Nicole Moretti as a Plaintiff. However,

Nicole Moretti did not file an administrative claim with HHS nor exhaust

administrative remedies prior to instituting or joining this suit, divesting this Court

of jurisdiction. 28 U.S.C. § 2675(a). Any attempt by Nicole Moretti to pursue an

FTCA action would now be time-barred, as presentment of a claim to the

appropriate agency must occur within two years of when the claim first accrues, a

period which has now lapsed. As a result, any tort claim she might have against the

United States is “forever barred.” 28 U.S.C. § 2401(b).

                                  BACKGROUND1

      CCC provides a variety of social services. Am. Compl. ¶ 3. LOC is a

permanent delivery site of CCC that provides a residential substance use disorder

program for women who are pregnant or have young children. Id. ¶¶ 3, 13. On



1 The Amended Complaint’s allegations are summarized here only for the purpose
of this Motion’s facial attack on jurisdiction. The United States disputes the truth of
several allegations and reserves its right to present a factual attack on jurisdiction
under Rule 12(b)(1) if the Court finds it necessary to resolve any jurisdictional
dispute.
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August 8, 2019, Nicole Moretti began residing at the LOC and receiving treatment

for her substance abuse disorder. Id. at ¶ 13. In early September 2019, Nicole

Moretti gave birth to her son Saylor Moretti at an outside medical facility. Id. at

¶ 14(a). Nicole Moretti and Saylor Moretti slept in their room at the LOC nightly.

Id. ¶ 13. On October 4, 2019, Nicole Moretti co-slept with Saylor Moretti in her bed

at the LOC. Id. at ¶ 12. While co-sleeping, “Nicole Moretti’s weight came to rest or

press against Saylor in such a way as to prevent his adequate breathing and he died

as a result.” Id.

                                LEGAL STANDARDS

       The United States “may not be sued without its consent.” United States v.

Mitchell, 463 U.S. 206, 212 (1983). “Absent a waiver, sovereign immunity shields

the Federal Government and its agencies from suit.” Fed. Deposit Ins. Co. v. Meyer,

510 U.S. 471, 475 (1994). A motion asserting sovereign immunity is a motion to

dismiss for lack of subject matter jurisdiction under Rule 12(b)(1). McCarthy v.

United States, 850 F.2d 558, 560 (9th Cir. 1988). “A Rule 12(b)(1) jurisdictional

attack may be facial or factual.” Safe Air for Everyone v. Meyer, 373 F.3d 1035, 1039

(9th Cir. 2004). “In a facial attack, the challenger asserts that the allegations

contained in a complaint are insufficient on their face to invoke federal jurisdiction.

By contrast, in a factual attack, the challenger disputes the truth of the allegations

that, by themselves, would otherwise invoke federal jurisdiction.” Id. “It is to be

presumed that a cause lies outside [federal courts’] limited jurisdiction, and the

burden of establishing the contrary rests upon the party asserting jurisdiction.”


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Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994) (citing Turner

v. Bank of N. Am., 4 U.S. 8, 11 (1799), and McNutt v. Gen. Motors Acceptance Corp.

of Indiana, 298 U.S. 178, 181 (1936)).

                                    ARGUMENT

I.    The United States is Not the Proper Defendant Because Plaintiffs Do
      Not Allege a Claim for Medical Malpractice Covered by the FSHCAA

A.    FSHCAA Law

      The FSHCAA “makes federally-funded community health centers and their

employees, officers, and individual contractors eligible for medical malpractice

coverage under the [FTCA] to the same extent as federal employees of the United

States Public Health Service.” El Rio Santa Cruz Neighborhood Health Ctr. v.

United States HHS, 396 F.3d 1265, 1267 (D.C. Cir. 2005). The FSHCAA

accomplishes this by “deeming” otherwise non-federal entities and certain of their

personnel to be Public Health Service employees for purposes of 42 U.S.C. § 233(a).

Section 233(a) makes the FTCA’s remedy against the United States exclusive “for

damage for personal injury, including death, resulting from the performance of

medical, surgical, dental or related functions.” 42 U.S.C. § 233(a).

      Consistent with its singular goal of relieving certain grantees of the “burden

of rising malpractice insurance costs,” El Rio, 396 F.3d at 1268, the FSHCAA

textually refers to malpractice numerous times, going so far as to specifically

subrogate to the United States only those benefits under an insurance policy for

medical malpractice otherwise available to the entity or individual who has been

“deemed” to be a Public Health Service employee. See 42 U.S.C. § 233(g)(2); see also
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42 U.S.C. § 233(g)(1)(G)(ii), (h)(1), (m)(2), (n)(1)(A), (n)(1)(D)(i)-(ii), (n)(1)(D)(2)(A)(i),

(n)(2)(C), (n)(2)(C)(ii), (n)(2)(D). (n)(1)(D) (each specifically referencing

“malpractice”); Federally Supported Health Centers Assistance Act of 1995, Pub. L.

No. 104-73, 109 Stat. 777, 777 (“[A]n Act [t]o amend the Public Health Service Act

to permanently extend and clarify malpractice coverage for health centers[.]”); Levin

v. United States, 568 U.S. 503, 508 (2013) (summarizing similar language in 10

U.S.C. § 1089(a) as covering “injuries resulting from malpractice”).

       Health Centers that receive federal grants under 42 U.S.C. § 254b have the

option to apply for the FSHCAA’s medical malpractice protections but are neither

obligated to do so nor automatically conferred coverage. When health centers

receive malpractice coverage under the FSHCAA, they are both reminded and

encouraged to maintain additional liability coverages. See Health Res. & Servs.

Admin., HHS, Federal Tort Claims Act: Health Center Policy Manual at 18

(updated July 21, 2014),

https://bphc.hrsa.gov/sites/default/files/bphc/ftca/pdf/ftcahcpolicymanualpdf.pdf

[“FTCA Manual”].

       Finally, and dispositively here, the FSHCAA limits the “deemed” status of

entities and qualifying individuals to “services provided” to “patients” of the deemed

entity, and in limited circumstances not applicable here, individuals who are not

patients of the entity. 42 U.S.C. § 233(g)(1)(B)–(C).

B.     LOC was “deemed” to be a PHS employee only for “services” provided
       to “patients.” Saylor Moretti was not LOC’s patient.

       As noted above, FSHCAA limits the legal fiction it confers upon qualifying
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entities, “deeming” them to be PHS employees only for purposes of “services” to

“patients of the entity.” 42 U.S.C. § 233(g)(1)(B). The term “services” refers to those

required primary health services, and where applicable, additional health services

the entity performs as a recipient of federal grant money under 42 U.S.C. § 254b.

See 42 U.S.C. § 233(g)(4) (defining entities for purposes of section 233(g) as those

receiving federal funds under 42 U.S.C. § 254(b); 42 U.S.C. § 254b(a)(1)(A)–(B).

      Thus, the FSHCAA, by statute, limits “deemed” PHS employee status to acts

and omissions in the performance of medical services to patients. 42 U.S.C.

§ 233(g)(1)(B).2 When a deemed entity chooses to provide additional, non-medical

services, and is sued for allegedly causing injury through its performance of those

services, FTCA coverage is unavailable. It is for this specific reason that grantees

are advised of the FSHCAA’s statutory limits and encouraged to purchase

insurance to cover other potential liabilities.

      Dispositive here is that Saylor Moretti was not a patient of CCC nor LOC.

LOC is a delivery site for CCC, and CCC did not provide medical services to Saylor

Moretti in this case. LOC provides substance use disorder treatment and enabling

services for women who are pregnant or have young children. Saylor Moretti was

not a patient of LOC. He was not receiving substance abuse disorder treatment, nor

does the alleged negligence involve any medical service provided to him. Indeed,




2 Under certain circumstances not presented here, acts and omissions in medical
services provided to individuals who are not patients of the deemed entity may be
covered. 42 U.S.C. § 233(g)(1)(C)–(D); 42 C.F.R. § 6.6(e) (providing examples of
situations where non-patients may be covered).
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LOC provides no medical care to its residents’ children. Therefore, FSHCAA

coverage does not extend Plaintiffs’ claims resulting from the alleged wrongful

death of Saylor Moretti. There is no FTCA remedy against the United States here,

and the United States must be dismissed.

C.    Alternatively, Plaintiffs’ Claimed Wrongful Death Did Not Result
      from Medical Malpractice Covered by FSHCAA

      Notwithstanding that Saylor Moretti was not a “patient” of LOC, Plaintiffs’

claim also fall outside the FSHCAA’s limited protections because it is not a medical

malpractice claim. Instead, Plaintiffs’ complaint alleges general premises liability

breaches in failing to adequately supervise sleeping arrangements. The gravamen of

Plaintiffs’ complaint, therefore, is the breach of a general duty imposed on premises

owners to protect individuals, like Saylor or Nicole Moretti, who are placed in their

charge, care, or custody.

      As noted above, the operative language of 42 U.S.C. § 233(a) “in effect insures

designated public officials” by having the United States stand in their place

financially “when they are sued for the performance of their medical duties.” Cuoco

v. Moritsugu, 222 F.3d 99, 108 (2d Cir. 2000). While the FSHCAA adopted, by

reference, the protections available to actual Public Health Service officers and

employees under 42 U.S.C. § 233(a), it is well-established that the 1970 enactment

of 42 U.S.C. 233(a) reflected Congress’s “concern . . . with common law malpractice

liability.” Castaneda v. United States, 546 F.3d 682, 693 (9th Cir. 2008), rev'd on

other grounds, Hui v. Castenada, 559 U.S. 799 (2010).

      Any lingering doubt about the protections Congress afforded under 42 U.S.C.
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233(a) was conclusively put to rest when it enacted the FSHCAA to extend those

same protections to otherwise private entities and individuals. See El Rio Santa

Cruz Neighborhood Health Ctr., 396 F.3d at 1268 (“Congress enacted the FSHCAA

to relieve publicly funded health centers of the burden of rising malpractice

insurance costs.”); H.R. Rep. No. 104-398, at 4–8 (1995) (referring throughout to

health centers’ “malpractice” coverage under Section 233); see also Tyler-Bennett v.

United States, No. 3:16-cv-2300, 2018 WL 3150676, at *2 (D. Or. June 27, 2018)

(Simon, J.) (recognizing that “[t]he intent of the Program is to increase the

availability of funds to grantee Health Centers by reducing or eliminating their

medical malpractice insurance premiums”).

      Here, Plaintiffs’ negligence claim does not involve death resulting from the

negligent performance of medical services to Saylor Moretti. It is, therefore, not a

malpractice claim covered under the FSHCAA.3



3 To the extent Plaintiff may rely upon the words “related functions,” located
within the broader clause “medical, surgical, dental, or related functions,” to
encompass the conduct at issue in this case, that reliance is misplaced, both as a
statutory interpretation matter and for the reasons explained herein regarding
Congress’s clear intent to cover only medical malpractice when it enacted the
FSHCAA. As a pure statutory interpretation matter, the words “related functions”
are general words following specific examples in statutory enumeration, requiring
that “related functions” be construed to be embrace only those things similar in
nature to the specific words. Dolan v. United States, 546 U.S. 481, 486 (2006).
“Related functions” must take its meaning from the context and purpose of the
statute as a whole to prevent from ascribing it unintended breadth. Id. That is
particularly true where, as here, the term “related” is unhelpful, for relations
logically stop nowhere. New York State Conf. of Blue Cross & Blue Shield Plans v.
Travelers Ins. Co., 514 U.S. 645, 655 (1995). Section 233(a) and the FSHCAA were
intended to protect certain individuals from lawsuits predicated upon conduct
amounting to medical malpractice, nothing more. If the Court desires a more
fulsome briefing, detailing the ordinary dictionary meanings of medical, surgical,
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      For example, Plaintiffs’ summary of Clinic Defendants’ alleged misconduct is

that Clinic Defendants created “an unreasonable risk of foreseeable harm that

resulted in the death of Saylor Moretti.” Am. Compl. ¶ 12.4 Similarly, Plaintiffs

repeatedly alleged that Clinic Defendants “knew or should have known” of the

unreasonable risks but were negligent in one or more particulars. Id. at ¶ 14. The

Amended Complaint neither alleges that the negligent performance of any medical

function caused Saylor Moretti’s death, nor that any medical professional owed a

duty that it breached by falling below the relevant standard of care used by such

medical professionals in the community.

      The Complaint further does not allege that the incident occurred during any



and dental as they would have been understood in 1970, the United States stands
ready to do so at the Court’s invitation.

4 The FSCHAA is a federal statute limiting both the class of individuals and the
category of claims for which the FTCA’s remedy against the United States is made
exclusive. Federal, not state law, therefore determines the scope of the statute’s
operative language. See Laird v. Nelms, 406 U.S. 797, 799 (1972); United States v.
Neustadt, 366 U.S. 696, 705-06 (1961); Trombley v. U.S. Dep’t of the Army, 666 F.2d
444, 446 (9th Cir. 1982); Felder v. United States, 543 F.2d 657, 669 (9th Cir. 1976)
(interpretation and application of the FTCA is a matter of federal, not state law).
       We nevertheless observe that Plaintiffs’ complaint facially alleges the
elements of an ordinary negligence claim under Oregon law (often referred to as the
“Fazollari” standard), in contrast to the elements for a medical malpractice action.
The Fazollari elements require a showing that defendant’s conduct created a
foreseeable risk of harm, that the risk is to an interest the law protects against
negligent invasion, that the defendant’s conduct was unreasonable in light of the
risk, that the conduct caused the harm, and that the plaintiff was within the class
of persons protected and the injury the type protected against the defendant’s
alleged negligent conduct. Son v. Ashland Cmty. Healthcare Servs., 239 Or. App.
495, 506 (2010) (quotations and citations omitted).
       A professional medical malpractice action, by contrast, applies different
standards and requires different proof, standards that plaintiff notably fails to
allege apply in this case. Id.
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medical appointment or during any other kind of professional medical treatment.

The underlying event occurred when Nicole Moretti and Saylor Moretti were

sleeping together in their private room at the LOC. There were no medical

providers involved in overnight monitoring of sleeping arrangements at the LOC.

The challenged actions and omissions concern policymaking, staffing, training,

supervision, and the allocation of resources relating to monitoring sleeping

arrangements.5 Thus, this negligence claim is not a medical malpractice claim, and

therefore, does not involve covered actions and omissions under FSHCAA. 42 U.S.C.

§ 233(a), (g).


II.    The FTCA’s Discretionary Function Exception Bars Plaintiff’s Claim

       Alternatively, to the extent the Court is inclined to find the allegations

covered under FSHCAA and treat Clinic Defendants as federal employees for

purposes of the conduct giving rise to suit, Plaintiffs’ claim against the United

States is barred by the FTCA’s discretionary function exception. The challenged

conduct includes policymaking, staffing, training, and resource allocation decisions,

all involving an element of judgment and susceptible to policy analysis.

       The FTCA’s waiver of sovereign immunity is limited by statutory exceptions,




5 Plaintiffs’ allegation that Clinic Defendants failed to provide a crib, likewise,
concerns both alleged duties that a premises owner might owe to an overnight
guest, as well as the allocation of resources and does not sound in medical
malpractice. See Am. Compl. ¶ 14(b). Moreover, the truth of this allegation should
not be presumed, and the United States is prepared to make a factual attack on
jurisdiction under Rule 12(b)(1) by providing evidence demonstrating that a crib
was provided in this case if the Court so requires it.
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and if any claim falls within any of these exceptions, “then the federal courts lack

subject matter jurisdiction to hear her claims.” Nurse v. United States, 226 F.3d

996, 1000 (9th Cir. 2000) (citation omitted). “The United States bears the burden of

proving the applicability of the discretionary function exception.” See Bailey v.

United States, 623 F.3d 855, 859 (9th Cir. 2010) (citing Terbush v. United States,

516 F.3d 1125, 1128 (9th Cir. 2008)). The discretionary function exception is “an

important exception to the FTCA” that covers those acts of discretion that involve

an element of judgment or choice, even if the acting employee abused that

discretion. Lam v. United States, 979 F.3d 665, 671–72 (9th Cir. 2020). The

exception provides:

             Any claim based upon an act or omission of an employee of
             the Government, exercising due care, in the execution of a
             statute or regulation, whether or not such statute or
             regulation be valid, or based upon the exercise or
             performance or the failure to exercise or perform a
             discretionary function or duty on the part of a federal
             agency or an employee of the Government, whether or not
             the discretion involved be abused

28 U.S.C. § 2680(a). This exception “marks the boundary between Congress’

willingness to impose tort liability upon the United States and its desire to protect

certain governmental activities from exposure to suit by private individuals.”

Berkovitz v. United States, 486 U.S. 531, 536 (1988) (quoting United States v. S.A.

Empresa de Viacao Aerea Rio Grandense (“Varig Airlines”), 467 U.S.797, 808

(1984)). “[T]he purpose of the exception is to ‘prevent judicial second-guessing’ of

legislative and administrative decisions grounded in social, economic, and political

policy through the medium of an action in tort.’” United States v. Gaubert, 499 U.S.
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315, 323 (1991) (quoting Varig Airlines, 467 U.S. at 814). “Therefore, where the

DFE applies, the United States has not waived its sovereign immunity, and the

district court lacks subject matter jurisdiction over a plaintiff's claim.” Lam, 979

F.3d at 672.

      The Ninth Circuit applies a two-step analysis for evaluating the applicability

of the discretionary function exception. “First, we ask whether the challenged

actions involve ‘an element of judgment or choice.’” Sabow v. United States, 93 F.3d

1445, 451 (9th Cir. 1996) (quoting Gaubert, 499 U.S. at 322). “If a ‘federal statute,

regulation, or policy specifically prescribes a course of action for an employee to

follow[,]’ the act is not discretionary because ‘the employee has no rightful option

but to adhere to the directive.’” Nieves Martinez v. United States, No. 19-16953,

2021 WL 1881388, at *6 (9th Cir. May 11, 2021) (quoting Berkovitz, 586 U.S. at

322–23). “This step is called the ‘discretionary act’ prong of the discretionary

function exception analysis.” Gonzalez v. United States¸ 814 F.3d 1022, 1027 (9th

Cir. 2016) (quoting Sabow, 93. F.3d at 1451).

      “If the government action did involve choice or judgment, the second step is to

determine ‘whether that judgment is of the kind that the discretionary function

exception was designed to shield, namely, only governmental actions and decisions

based on considerations of public policy.’” Green v. United States, 630 F.3d 1245,

1249 (9th Cir. 2011) (quoting Terbrush, 516 F.3d at 1129). “More specifically, ‘if the

judgment involves considerations of social, economic, or political policy, the

exception applies.’” Sabow, 93 F.3d at 1451 (quoting In re Glacier Bay, 71 F.3d


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1447, 1450 (9th Cir. 1995)). “We refer to this as the ‘policy judgment’ prong.’”

Gonzalez, 814 F.3d at 1028 (citing Sabow, 93 F.3d at 1451).

A.    The Challenged Actions Are Discretionary Acts Involving an Element
      of Judgment or Choice

      Clinic Defendants’ actions and omissions regarding their supervision of

overnight sleeping arrangements, which must, if the United States is a proper

defendant under the FSHCAA, be treated “as if” the conduct had been carried out

by the United States through Public Health Service employees, were discretionary

acts not prescribed by any mandatory federal law or policy. The policymaking,

staffing, training, and client-supervision acts at issue were all discretionary acts

subject to the exception. See Am. Compl. ¶ 14.

      Regarding the sufficiency of Clinic Defendants’ co-sleeping policies, it is well

established that “the promulgation of policies and rules is protected by the FTCA’s

discretionary function exception.” Nurse, 226 F.3d at 1002 (collecting cases).

Plaintiff also challenges the adequacy, training, and supervision of LOC’s staff.

Allegedly negligent employment, supervision, and training of federal employees “fall

squarely within the discretionary function exception.” Id. at 1001–02 (collecting

cases recognizing that employee training, supervision, and retention are

discretionary acts).

      Relatedly, Plaintiffs’ allegations that LOC failed to monitor the Morettis

overnight as they slept describes a discretionary act. First, this allegation

challenges how LOC allocates its personnel resources, which is a discretionary act

as established above. Second, the Ninth Circuit has found this type of act
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discretionary in other contexts. See e.g., Alfrey v. United States, 276 F.3d 557, 567

(9th Cir. 2002) (holding that officials’ acts regarding investigations and searches of

cells for safety risks was discretionary where no course of action was prescribed);

Terbush, 516 F.3d at 1135–36 (collecting cases in public-lands context determining

the safety of particular areas and whether and how to allocate resources to them is

discretionary); Reed ex rel. Allen v. U.S. Dep’t of Interior, 231 F.3d 501, 506 (9th Cir.

2000) (holding that the context of event monitoring, “the nature and extent of

monitoring clearly involves both discretion on the part of [federal] employees and a

balancing of public concerns”).

      Further, no federal law or policy dictated Clinic Defendants’ course regarding

the challenged actions. An action satisfies the discretionary act prong “where no

statute or agency policy dictates the precise manner in which the agency is to

complete the challenged task.” Green, 630 F.3d at 1250 (citing Childers v. United

States, 40 F.3d 973, 976 (9th Cir. 1995)). “If the employee acted with discretion, the

DFE restores the government’s immunity, and plaintiff loses.” Lam, 979 F.3d at

673. The policies of the involved federal agency, and not Clinic Defendants’ internal

policies, are relevant for determining whether this prong is met. See Gonzalez, 814

F.3d at 1027 (recognizing that federal employees must follow federal statutes,

regulations, or policies that specifically prescribe a course of action for an employee

to follow). No federal statute nor regulation prescribe Clinic Defendants’ operations

regarding the supervision of overnight sleeping arrangements at LOC. See

generally, 42 C.F.R. Ch. 1, Subchs. A & D (covering general provisions under


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FSHCAA and requirements for grant recipients under the Act). Clinic Defendants

had discretion to choose whether and how to conduct overnight monitoring at the

LOC. Therefore, because the challenged actions involved an element of judgment

and choice and no statute prescribed the precise manner in which Clinic Defendants

undertook those actions, the discretionary act prong is satisfied.

B.    The Challenged Actions Are Susceptible to a Policy Analysis

      Clinic Defendants’ actions and omissions regarding their policymaking,

staffing, training, and supervision related to the monitoring of co-sleeping were

susceptible to a policy analysis. Once the discretionary act prong is met, the focus of

the inquiry is “on the nature of the actions taken and on whether they are

susceptible to policy analysis.” Gaubert, 499 U.S. at 325. First, if the relevant

policies permit discretion, “then we must presume that an agent’s acts or omissions

are grounded in policy, whether or not we suspect that the discretion involved has

been abused.” Gonzalez, 814 F.3d at 1036 (citing Gaubert, 499 U.S. at 324). Because

no federal law prescribes a specific course of conduct here, a “strong presumption”

arises that Clinic Defendants’ actions “were grounded in policy considerations.” Id.

at 1032 (citing Gaubert, 499 U.S. at 499). “[T]he government is not required to prove

either that an affirmative decision was made, or that any decision actually involved

the weighing of policy considerations, in order to claim the immunity.” Id. (citing

Terbush, 516 F.3d at 1136 n.5). “The discretionary function exception applies so

long as the challenged decision is one to which a policy analysis could apply.” Id.

(citing Weissich v. United States, 4 F.3d 810, 813 (9th Cir. 1993)).


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       Here, Clinic Defendants’ decisions regarding the allocation of staff,

policymaking, training, and supervision are the types of actions that, by their

nature, are susceptible to a policy analysis. See Nurse, 226 F.3d at 1001. First, the

Ninth Circuit has recognized that policymaking decisions as well as employment-,

training-, and supervision-related decisions involve policy considerations. Id. at

1001–02. Decisions regarding personnel allocation and assigning resources are

protected by the discretionary function exception. Id.; see also Vickers v. United

States, 228 F.3d 944, 950 (9th Cir. 2000) (“[D]ecisions relating to the hiring,

training, and supervision of employees usually involve policy judgments of the type

Congress intended the discretionary function exception to shield.”). Because Clinic

Defendants’ actions relating to monitoring sleeping arrangements at LOC are

susceptible to policy analysis, the policy judgment prong has been satisfied.

Therefore, Plaintiffs’ claim against the United States should be dismissed for lack of

subject matter jurisdiction.

III.   Nicole Moretti Failed to Exhaust Her Administrative Remedies and
       Any Claim She Might Have Against the United States is Forever
       Barred

       Nicole Moretti did not present her claim in writing to HHS during the period

prescribed by law before bringing this lawsuit, depriving this Court of subject

matter jurisdiction over any claim she might have against the United States arising

from the underlying incident. No action may be instituted against the United States

unless and until the plaintiff/claimant has first presented a claim to the appropriate

agency and the claim has been finally denied. 28 U.S.C. § 2675(a). This requirement


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is jurisdictional and must be fulfilled by each claimant prior to the invocation of the

judicial process. Cadwalder v. United States, 45 F.3d 297, 300-01 (9th Cir. 1995);

McNeil v. United States, 508 U.S. 106, 112-13 (1993). Separately, the FTCA

requires that a claim be presented to the appropriate agency within two years of the

date the claim accrues. 28 U.S.C. § 2401(b).

      In this case, Saylor Moretti’s death was on October 4, 2019, and Nicole

Moretti had until October 4, 2021, to file her own claim. Am. Compl. ¶ 4. On March

31, 2021, Wendy Novins, as the personal representative of the estate of Saylor

Moretti, filed an SF-95 form solely on behalf of the estate. Am. Compl. ¶ 9, see also

Attach. 1 (March 31, 2021, SF-95 Form).6 Nicole Moretti was not a claimant named

in the SF-95 form. The original complaint erroneously named Nicole Moretti as the

estate’s representative. See Compl. ECF No. 1. Upon amendment, Wendy Novins

replaced Nicole Moretti as the estate’s representative and Nicole Moretti was

separately named as a Plaintiff. See Am. Compl. Under Oregon law, only the

personal representative of the decedent’s estate—Wendy Novins in this case—may

bring a wrongful death claim. See Or. Rev. Stat. (“O.R.S.”) § 30.020(1). Here, Nicole

Moretti was added as a Plaintiff but only the single wrongful death claim is alleged.

To the extent the Amended Complaint could be construed to include allegations and

claims on Nicole Moretti’s behalf, those allegations must be dismissed with




6 Under the incorporation by reference doctrine, the Court is permitted to take into
account documents whose contents are alleged in the Amended Complaint and
whose authenticity no party questions. Daniels-Hall v. Nat’l Educ. Ass’n, 629 F.3d
992, 998 (9th Cir. 2010); Knievel v. ESPN, 393 F.3d 1068, 1076 (9th Cir. 2005).
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prejudice.

      Because Nicole Moretti did not exhaust her administrative remedies prior to

invoking the judicial process on her individual claims, this Court lacks subject-

matter jurisdiction over them. Moreover, because more than two years has lapsed

since her claims accrued, Nicole Moretti’s claims against the United States are now

“forever barred.” 28 U.S.C. § 2401(b).

                                   CONCLUSION

      Based on the foregoing, the United States respectfully requests that the

Court grant this Motion and dismiss Plaintiffs’ claim against the United States for

lack of subject matter jurisdiction.



Dated: June 24, 2022.

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                                               /s/ Michael Jeter
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